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Retrieval of Archived Video

Directive # 1000.002 Effective Date: © 02/08/2015
lniticting Unit: = Security Services Bureau Review Date: 1* February
CALEA: N/A
( 33 Gamera video footage to include the dissemination of
onfents 34 footage through established channels. Prescribed law
35 enforcement purposes for the CP-411 include:
Authority and Coverage uo... .ccccssssscssssssssseceeseeessesees 36 required for court, subpoena, Office of Professional
DeFirition(S) «2... eeceeseeesecsescsnsecerseneceeseeenecneessnenesnacse 37 Responsibility (OPR), or training, but may include any
Gemeral Policy... eceecceeesecesseseentersceeseerseeesaneene as authorized investigation. This policy will identify the
Requesting Archived Video Footage .............0c00008 2 39 parties that are able to request video (USCP sworn
Accessing Archived Video Footage .......0cccccceceese 2 40 officials or their civilian equivalent) and the role of the
Responsibilities/Procedures ............cccccccsscseeesseessees 2 41 Security Services Bureau (SSB) and Chief of
Security ServiceS BUr@au cs eescceeeeeseeceseeeneseees 2 a2 Operations (COO) in assuring that any request for
Additional Information 0.0.00... ccssererceeeessneseeenes 2 43 disseminating archived video follows an appropriate
Cancellation «20... eee eecceneeeceeeeeeecesanseneeeraestenenaernaeas 2 44 business purpose.
APPO@NdiCeS 0.0.0... cc cceccseeseeesaesesnetansecsueeensersanpenessneess 2
45 The USCP was tasked by its statutory oversight
46 committees to expand the video retrieval capabilities of
* 47 the Capitol Complex. The design, installation, and
Author ity and Coverage 48 maintenance of this system are delegated to the SSB.
49 The Capitol Police Board directed that cameras would
The Chief of Police is the chief executive officer of the 50 only be used for matters related to national security
United States Capitol Police (USCP) and is 51 and legitimate law enforcement purposes (e.g., serious
responsible for the day-to-day operation and 52 crimes). The COO is the sole authority for the approval
administration of the USCP. 52 of any and all requests for archived video footage, with
54 the exception of the Office of the Inspector General
This policy may be revised at the discretion of the 55 (OIG) which has the ability to duplicate archived video
Chief of Police, consistent with applicable law, rule, 56 footage for its own investigations.
and regulation.
57 In addition, this policy identifies the expectations for
«tae 58 accessing and using video footage. This policy does
Definitio n(s) 59 not apply to the use of video as an operational aid
60 (@g., supporting the USCP Command Genter
CP-411 Request for Copy/Review of Video 61 Operations during an incident). Instead, this policy is
Recordings. A form created by the USCP to 62 intended to safeguard against the transfer of archival
document and control the request and dissemination 63 video for non-operational activities (e.g., as an aid to
or archived video footage. 64 officers in filing reports). Video footage received
65 through an approved request should not be delivered,
1 66 copied, or transmitted to anyone other than necessary
Gener al Policy 67 parties (e.g., court, General Counsel} without approval
68 from the COO.
The Department must maintain appropriate internal
controls on the use and duplication of archived video 69 The USCP, through SSB, maintains a sophisticated
footage to ensure the chain of custody for all copied 70 closed circuit television system (CCTV) system that
video footage. In support of national security and 71 includes cameras strategically placed throughout the
legitimate law enforcement purposes, the Department = 72 Capitol Complex to provide situational awareness to

adjudicates any and all requests for recorded security
USCP personnel, supporting national security, and
legitimate law enforcement purposes.

Requesting Archived Video Footage

The CP-411 must be routed through the chain of
command and ultimately approved by the COO. A
requesting official must also have signed the signature
sheet acknowledging they have received and reviewed
this policy and relevant standard aperating
procedures. Requests for archived video footage via
the GP-411 must be made at least at the level of
Sergeant (or their civilian equivalent) and should be
reviewed and approved by the relevant Deputy Chief
(or civilian equivalent) before it is sent to the Office of
the COO for official approval, The COO will forward
the request to the SSB upon approval.

Accessing Archived Video Footage

Workstations, as well as the requisite access
privileges for access to archived video footage from
the Video Management System (VMS), are issued by
the SSB to officials (mostly at the rank of Captain and
above) in the Operational Bureaus. In addition, the
SSB provides access privileges to any individual in
organizations that frequently require video footage for
operational purposes, including the USCP Command
Center, Communications, the Criminal Investigations
Section, OGC, OPR, OIG, and SSB. Archived video
can be used for operational activities, including
supporting Command Center Operations during an
incident or supporting USCP investigation. USCP
personnel should not use or reference archived video
in their reports which are used in court proceedings
unless they have written approval from the COO.

Retrieving, using, or duplicating archived video footage
in cases not related to national security or significant
law enforcement operations (e.g., traffic stops,
accident reporting), could expose the location of our
CCTV cameras or identify our surveillance tactics, This
presents @ threat to national security, as making this
information public could be utilized by a potential
adversary.

Video footage should be used only in the prescribed
manner documented in the CP-411 within the strict
controls outlined in this policy. If the reason for a
request or usage of the video footage changes,
another CP-411 form should be completed and

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provided through the proper chain of command to
amend the initial CP-411.

Responsibilities/Procedures

Security Services Bureau
SSB is responsible for the following:

1. Process an approved request and schedule a time
for the requesting official to pick-up the video
footage. Only the requesting official or an alternate
designated in writing by the requesting official may
pick up the video.

2. Assign a request tracking number to ensure
accountability and proper internal controls and
record all video requests and custody transfers
with the assigned tracking number in an approved
location. Any changes to the original request will
require a new CP-411.

3. Stores video footage for 30 days per system
capabilities. Officials should be aware that system
maintenance or malfunctions may make video
unavailable prior to the 30 days. For this reason,
video retrieval requests should be made promptly.
SSB will maintain an archive of any approved
video footage requests.

Additional Information

Retrieval, use, or duplication of archived video footage
would not be in compliance with the intent of Congress
when it established the VMS.

Cancellation

: None.

Appendices

None.
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Kim C. Dine
Chief of Police
cP-4
Case 1:21-cr-00026 G:F EDPOFA TES CAMTOL PONCE /21 Page 3 of 16 ie
REQUEST FOR VIDEO RECORDINGS

(Please Type or Print Legibly)

TO BE COMPLETED BY REQUESTING EMPLOYEE

1. TYPE OF RECORDING Q REVIEW OCD/DVD QO PHOTO/SNAPSHOT

QO COURT O SUBPOENA OTRAINING QOOPR QO OGC/OEC
2. REASON FOR REQUEST O OTHER (explain)

3. REQUEST DATE 4. DATE NEEDED
4. TYPE OF EVENT Se oe DATEAND 6. LOCATION OF EVENT. | 7. CAMERAS
8. VIDEO START DATE 10. VIDEO END DATE
9. VIDEO START TIME 11. VIDEO END TIME
12. CFN 13. CCN
14. NAME AND UNIT OF OFFICER(S) INVOLVED 15. UNIT
16. REQUESTING OFFICIAL 17. UNIT
18. OFFICE PHONE 19. CELL PHONE
20. DESIGNATED ALTERNATE (PICK-UP) 21. UNIT
22. OFFICE PHONE 23. CELL PHONE
CHIEF OF OPERATIONS APPROVAL
24. SIGNATURE 25. PRINTED NAME 26. DATE

TO BE COMPLETED BY SYSTEM OPERATIONS SECTION (SOS)

27. SIGNATURE 28. PRINTED NAME

29. VIDEO REQUEST TRACKING NUMBER 30. DATE COMPLETED

TO BE COMPLETED BY EMPLOYEE RECEIVING VIDEO

WARNING: UNAUTHORIZED USE, DUPLICATION OR DISSEMINATION OF INFORMATION CONTAINED
ON THIS CD/DVD MAY RESULT IN APPROPRIATE ADVERSE ACTION

31. EMPLOYEE SIGNATURE 32. EMPLOYEE PRINTED NAME 33. DATE

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SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
CRIMINAL DIVISION

DISTRICT OF COLUMBIA :
Docket No.: 2018 CTF 017464
Vv. : Court Date: January 22, 2019
Courtroom 116

RICKY WISEMAN :

PROTECTIVE ORDER CONCERNING THE DISCLOSURE AND USE OF UNITED
STATES CAPITOL POLICE SURVEILLANCE VIDEO

It is this day of ,201_, hereby

ORDERED that Bryan Brown, attorney for the defendant be permitted to obtain a copy
of the street video; and it is

FURTHER ORDERED that Bryan Brown may show the street video in court as
necessary to litigate this matter and the video shall not be used for any other case or purpose; and
it is

FURTHER ORDERED that Bryan Brown may only show the street video to the
defendant and any investigators working on this case and shall not share the street video nor
show it to any other person not directly affiliated with this case; and it is

FURTHER ORDERED that neither Bryan Brown, his investigators, nor the defendant are
to reproduce, share, disseminate, nor discuss with any person not named in this Order, the
depictions shown in the street video; and it is

FURTHER ORDERED that Bryan Brown must return the street video to the Office of the

Attorney General after the later of a plea, trial or sentencing in the above-entitled case.

Honorable Judge

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CERTIFICATE OF SERVICE

Thereby certify that on this 26th day of December, 2018, a true copy of the foregoing
District of Columbia’s Motion for Protective Order Concerning the Disclosure and Use of
United States Capitol Police Street Video was sent electronically to Bryan Brown, counsel for

the defendant.
Sather) Yopeb-~

JOSHUA KARPOFF
Assistant Attorney General

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SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
CRIMINAL DIVISION

DISTRICT OF COLUMBIA
Docket No.: 2018 CTF 017464
v. : Court Date: January 22, 2019
Courtroom 116

RICKY WISEMAN

DISTRICT OF COLUMBIA’S MOTION FOR PROTECTIVE ORDER CONCERNING
THE DISCLOSURE AND USE OF UNITED STATES CAPITOL POLICE STREET
VIDEO

The District of Columbia (“District”), by and through its attorney, the Office of the
Attorney General, hereby moves for a protective order concerning the disclosure and use of
United States Capito! Police (“USCP”) street video. In support of its motion, the District makes
the following representations:

PROCEDURAL BACKGROUND

On November 28, 2018, the defendant was charged with Driving Under the Influence
(“DUI”), in violation of D.C. Code § 50-2206.11(2014 Repl.), and Operating a Vehicle While
Impaired (“OWI”), in violation of D.C. Code § 50-2206.14 (2014 Repl.). The case is set for
status on January 22, 2019. On December 26, 2018, undersigned counsel received a copy of
street video footage related to this case. For national security reasons, as indicated below, the
District now files its motion for a protective order.

STATEMENT OF FACTS

On November 1, 2018, at approximately 11:01 p.m., Ricky Wiseman (“defendant”) was
arrested for impaired driving after he was observed exiting the C-Street garage of the U.S. House
of Representatives Cannon building, located at 25 Independence Avenue, S.E., Washington,

D.C.
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ARGUMENT

THE COURT HAS DISCRETION TO ISSUE THE PROTECTIVE ORDER
IN THIS CASE.

The Court has discretion to issue the protective order given the parameters the
government requests. See, e.g., Douglas Oil Co. v. Petrol Stops Northwest, 441 U.S. 211, 219
(1979) (recognizing the need to protect confidential sources in criminal investigations); Black v.
Sheraton Corp. of America, 184 U.S. App. D.C. 46, 60-61, 564 F.2d 531, 545-46 (1977) (same).
Courts also have recognized the importance of protecting investigative techniques. /d. at 60-61,
564 F.2d at 545-46, Harris v. United States, 594 A.2d 546, 548-49 (D.C. 1991) is instructive. In
Harris, the Court issued a protective order to defense counsel prohibiting him from sharing a
video-taped statement with the defendant, but allowed defense to speak to the defendant
regarding the substance of the information. Jd. The Court held that “[a] restriction on defense
counsel that prevents him from revealing what is possibly Jencks material does not materially
interfere with counsel's duty to advise a defendant on trial-related matters.” /d, 594 A.2d at 549,
citing State v. Schaeffer, 217 Neb. 4, 6, 346 N.W.2d 701, 703 (1984) (“It is difficult to equate
denial of the right to speak to a client with a prohibition against disclosure of the contents of a
nonrelevant document...”). Furthermore, the Court found that this restriction was reasonable. It
went on to hold that “the trial court imposed the temporary restriction on defense counsel to
allow him the opportunity to review the tape before the trial court ruled on the government's
request for a protective order. The trial court's procedure enabled counsel to argue the next day
against the issuance of a protective order.” /d, 594 A.2d at 549, relying on United States v.
Eniola, 282 U.S.App.D.C. 176, 181, 893 F.2d 383, 388 (1990) {The essence of the sixth

amendment threshold is whether defense counsel has demonstrated that the [argued] defense has
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legitimate potential such that [defense counsel] is entitled freely to discuss the strategies with his
client for attempting to prove the defense. ”).

Here, the release of Capitol security street videos could compromise USCP’s ability to
protect the Capitol. The USCP’s primary mission is to police the United States Capitol
Buildings and Grounds,! and it has the power to enforce the laws of the District of Columbia
pursuant to 2 U.S.C. §1961. As part of its policing responsibilities, the USCP maintains and
controls a series of video surveillance cameras throughout the Capitol Grounds. The purpose of
the cameras is to assist in the maintenance of national security by detecting threats to U.S.
Congressmen, their staff, and constituents, deterring and preventing terrorism, and providing for
the safety and security of the Capitol Buildings and Grounds. The cameras are generally not
used to collect evidence in criminal matters.

The release of security information by USCP is governed by 2 U.S.C. § 1979 (b):

Notwithstanding any other provision of law, any security information in the

possession of the Capitol Police may be released by the Capitol Police to another

entity, including an individual, only if the Capitol Police Board determine in
consultation with other appropriate law enforcement officials, experts in security
preparedness, and appropriate committees of Congress, that the release of security
information will not compromise the security and safety of the Capitol buildings

and grounds or any individual whose protection and safety is under the

jurisdiction of the Capitol Police.

“Security information” is defined as any information that is “sensitive with respect to the
policing, protection, physical security, intelligence, counterterrorism actions, or emergency

preparedness and response relating to Congress ... and the Capitol building and grounds” which

is obtained by the Capitol Police. 2 U.S.C. § 1979 (a). The locations and capabilities of the

! The streets and physical locations included in USCP’s jurisdiction are outlined in 2 U.S.C. §
1967 (b).
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street cameras fall under this definition of security information, as this information directly
concerns the policing and protection of the Capito] grounds.

Revealing the locations and capabilities of these cameras could jeopardize USCP’s
mission to protect the Capitol grounds. The dissemination of information concerning the
location and technical capabilities, including the ability to focus, pan, and zoom on a moving or
stationary object, as well as information about the image quality will aid people who are intent
on finding weaknesses in the United States’ ability to protect the Capitol buildings, grounds, and
individuals whose protection and safety is under the jurisdiction of the Capitol Police. In the
past year the District has prosecuted hundreds of impaired driving cases brought by Capitol
Police. Even assuming that many of these arrests were not caught on video and that some of the
arrests occurred at the same locations, the systematic release of all of these Capitol security
videos in the future would compromise the ability of USCP to protect the Capitol.

The District acknowledges that pursuant to its duty under Super Ct. Crim. R. P. 16, street
video obtained by USCP may be discoverable. In Howard v. United States, 656 A.2d 1106, 1111
(D.C. 1995), the Court also allowed reasonable issuance of a protective order. The Court held

Before trial, the prosecutor, out of concern for his obligations under Brady v.
Maryland, 373 U.S. 83, 10 L. Ed. 2d 215, 83 S. Ct. 1194 (1963), informed the
court and defense counsel that Derrick Ross was a suspect in an unrelated armed
robbery, although there was no basis for believing that Ross was aware he was
under suspicion. The court ruled that this information was too attenuated to fall
within the demands of Brady. The court issued a protective order prohibiting
defense counsel from discussing this information with appellant Howard and from
using it as a basis for cross-examining Ross. On appeal, Howard contends that
this protective order violated his Sixth Amendment right to counsel, as well as his
rights under the Confrontation Clause. We find no abuse of discretion in the
court's issuance of this protective order.

Howard, 656 A.2d 1106, at 1111 relying on United States y. Anderson, 509 F.2d 724, 730 (9th

Cir. 1975) (“the district court can and should, when appropriate, place defense counsel under
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enforceable orders against unwarranted disclosure of the evidence that he has heard.”). The
government seeks to impose a similar reasonable restriction in this case. Preventing the defense
from sharing the locations of these cameras does not interfere with the defendant’s rights to
confer with counsel or assist with his defense.

The Court should balance the public safety interest of protecting our elected officials with
the defendant’s right to prepare his defense by issuing a protective order that permits the
defendant to prepare for trial and litigate the case but which limits the defendant, and his counsel,
from reproducing the videos or using them for any reason not directly related to the litigation of
this matter. Thus, the District respectfully asks this Court to issue a protective order pursuant to
Super Ct. Crim. R. P. 16 (d), which would control the disclosure and use of the street camera
video by the defendant and defense counsel.

A protective order is required in this case because the release of USCP security street
videos could compromise USCP’s ability to protect the Capitol. Therefore, the government
requests that the Court order that when the defendant obtains a copy of the street video, he shall
not use this video for any other case or purpose and that his defense counsel shali only be
allowed to show the video to the defendant and any investigators working on the case. The
government also requests that the Court order that neither defense counsel, his investigators, nor
the defendant are to reproduce, share, disseminate, nor discuss with any person not named by the
Court in the requested protective order, the depictions shown in the street video. This order
should include that all shall be identified to the government and they shall sign a protective order
to be prepared by the government which precludes the dissemination to any other person of the
disclosed information; "disclosed information" includes any later acquired information derived

from the initial disclosure. Finally, the government requests that the Court order that defense
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counsel must return the street video to the Office of the Attorney General after the later of a plea,
trial or sentencing in the above-entitled case.

This protective order would serve the security interests of USCP in protecting our elected
officials while allowing the District to comply with its Rule 16 obligations.

CONCLUSION

Based upon the foregoing facts and arguments, the District respectfully requests that this
Court grant the District’s motion for a protective order concerning the use, reproduction, and

disclosure of the United States Capitol Police street video.

Respectfully submitted,

KARL A. RACINE
Attorney General for the District of Columbia

TAMAR MEEKINS
Deputy Attorney General, Public Safety Division

FEE. Lata

PETER SABA [975945]
Chief, Criminal Section

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Phone 202-224-5151
UNITED STATES CAPITOL POLICE

WASHINGTON, DC 20510-7218

January 11, 2021

Information Sharing Agreement

Officials and agents of the Metropolitan Police Department of the District of Columbia (MPD)
coordinating with the United States Capitol Police (USCP) during the course of investigations
related to the events of January 6, 202! relating to the U.S. Capitol, acknowledge, understand,
and agree that the USCP is a legislative branch agency and, as such, all information, to include
video, audio, photographic and documentary information, shared by the USCP during these
investigations, shall remain in the legal control of the USCP subject to any and all applicable
release and non-disclosure requirements of Congress. Information exchanged as part of these
investigations shall not be reclassified. All information originating with and provided by the
USCP as part of these investigations remains the property of and under the legal control of the
USCP, and if provided to MPD will be returned to the USCP at the conclusion of the
investigation. This restriction does not apply to any video, audio, photographic or documentary
evidence that is used as evidence or discovery as part of any prosecution of any criminal offense.

fp to

Sean P. Gallagher
Acting Assistant Chief
United States Capitol Police

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Captain Carlos Heraud
Homicide Branch Commander
Metropolitan Police Department of the District of Columbia

Nationaily Accredited by the Commission on Accreditation for Law Enforcement Agencies, Inc
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% Phone 202-224-5151
: UNITED STATES CAPITOL POLICE

de tt WASHINGTON, DC 20510-7218
- ) January 10, 2021
Information Sharing Agreement

Officials and agents of the Federal Bureau of Investigation (FBI) coordinating with the United
States Capitol Police (USCP) during the course of investigations related to the events of January
6, 2021 relating to the U.S. Capitol, acknowledge, understand, and agree that the USCP is a
legislative branch agency and, as such, all information, to include video, audio, photographic and
documentary information, shared by the USCP during these investigations, shall remain in the
legal control of the USCP subject to any and all applicable release and non-disclosure
requirements of Congress. Information exchanged as part of these investigations shall not be
reclassified. All information originating with and provided by the USCP as part of these
investigations remains the property of and under the legal control of the USCP, and if provided
to the FBI will be returned to the USCP at the conclusion of the investigation. This restriction
does not apply to any video, audio, photographic or documentary evidence that is used as
evidence or discovery as part of any prosecution of any criminat offense.

Lf bo

Seah P. Gallagher
Acting Assistant Chief
United States Capitol Police

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Steven Michael D’ Antuono
Assistant Director in Charge
Washington Field Office
Federal Bureau of Investigation

Nationally Accredited by the Commission on Accreditation for Law Enforcement Agencies, inc.
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